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                                CA SE N O .22-CR -20008-FA M

  UM TED STA TES O F AM ER ICA

 VS.

 K EVIN REBOLLEDO,

        D efendant.
                                              /

                                   FA CTU AL PR O FFER

        Defendant,Kevin Rebolledo,hiscotmsel,and theUnited Statesagreethat,had thiscase

 proceededtotrial,theUnited Stateswould haveproven thefollowing facts,among others,beyond

 areasonabledoubt:

        In Septemberof2020,an tmdercover1aw enforcementofficer(;GUC'')wasamemberofa
 KIK group where m embersexchanged child pom ography.The UC observed a ICIK usernam ed

 diegocontreras8g6,later identified as the D efendant,shadng im ages and videos depicting child

 sexualabusem aterials,including im agesand videosdepicting infants atld toddlers.On Septem ber

 2,2020,theDefendantsentthefollowingthreefilesto theKIK group:

        @      File 1:An im age depicting an infantofunknow n genderlying on theirback
               w ith their anusbeing held open.

        @      File 2:A video,12 second long,depicting a nude fem ale infantlying on her
               back and an adultinserting ltis erectpenis into hervagina.The adultm ale
               thenejaculatesintotheinfant.
        .      File3:An imajedepicting anudeprepubescentfemalelying on herback
               and two adpltm ales inserting their erect penises into the prepubescent
               fem ale'sanusandvagina.
        K IK    records   provided     1aw    enforcem ent    w ith   the    em ail   address,

 dieaocontreras8g6@yahoo.com, and the IP address associated with the diegocontreras8g6
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  account. Yahoo! records provided the phone nllmber associated with the email address

  diecocontreras8g6@ vahoo.com,aphonentlmberendingin 1043.Comcastprovidedthenameand
  address associated with IP adclressprovided by KIK.The nam e associated with IP addresswas

 lateridentified astheDefendant'sm otherandthe associated addresswaslisted as2461NE 184th

 Terrace,N orth M iam iBeach,Florida.

        Based on tllisintbnnation law entbrcem entcontinuedtheirinvestigation lenrning thatthe

 Defendant lived at the residence.Law enforcem ent com pared the D efendant's Florida Driver's

 License photo to the diegocontreras8g6 K IK profile picttzre,which depicted the bottom half of a

 m an'sface.Thedriver'slicensephotowasconsistentwith theprofilepicttzre.

        Based on their investigation,1aw enforcem entsentthe D efendant a ruse letter stating that

 he was the victim of a socialm edia scam and asldng thathe call 1aw enforcem entfor more

 irlform ation.The Defendantcalled 1aw enforcem entusing thephone numberending in 1043,the

 snm e phone num ber associated with the em ail address diecocontreras8g6@,vo o.com , and

 scheduled a m eeting w ith 1aw enforcem ent.

        On D ecem ber 10,2021,theD efendantm etw ith 1aw enforcem entand duting l'lisrecorded

 voltmtary interview the Defendmlt admitted to viewing clzild pom ography.In response to his

 adm ission,1aw enforcem entread theDefendanthisM iranda rights.AftertheDefendantsigned a

 written waiverofhisM iranda rights,law entbrcem entshowedtheDefendantfiles1and 3,which

 the Defendantshr ed to the IIIK group on September2,2020.The Defendantrecognized file 1

 and adm itted to sending itin the K1K group;how ever,he claim ed he did notrecognize file 3.The

 D efendantalso identified him selfasthe userofD iegocontreras8g6 K IK accotm tand astheperson

 in the accotm t'sprofile picture.
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        The D efendantgave law enforcem entw ritten consentto search llisP hone X ,bearing the

  serialnumberG6TW P7DRJCLF ((;iPhone''),andverbalconsenttoassumehisonlineidentityon
 m essaging applications like K IK and Telegram .

        A search ofthe Defendant's iphone revealed hundreds ofunique files containing child

 pom ography,including im ages and videos depicting infants,toddlers,and prepubescentm inors

 engaged in sexually explicitconduct.Law enforcem entalso discovered multiple chats,on both

 KIK andtheTelegram meàsagingapplication,wheretheDefendantdistributed andreceived child

 pom ography.

        One of the m essaging conversation law enforcem entreview ed took place â om M ay 31,

 2021,through June 3,2021,between the Defendant, and a Telegram user ççgagepec,''later

 identified asSergio Romero (GçRomero'').Themessagesincluded discussionsabouttheirinterest
 in childpornography andthe exchangeofimagesand videoscontaining childpom ography.

        The D efendantreceived 10 videos âom R om ero on M ay 31,2021,two of the videos are

 described asfollow s:

        @ thefirstvideoisofan adultm aleengaging i,
                                                  n analsex with aprepubescentboy;
          and,

           the second ofan adultmaleengaging in analsex with an irlfantaged boy.

        Theimagesand videosfotmd ontheDefendant'sphonet'
                                                       ravelled in interstate and foreign

 comm ercethrough theinternet.
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         The parties agree thatthe above facts,which do n0tinclude a11the facts lcnom zto the

 Govem mentandtheDefendant,are sufficientto provethe Indictm entbeyond areasonabledoubt.



                                    JuM AN TON IO G ON ZM EZ
                                       ITED STA TES A TTORN EY


 Date:U 1r Q'1               By:
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 Date:       %     OT?-      By:
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